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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


James Irving Dale,                                       Civil No.: 18-cv-00886 (DWF/DTS)

                               Plaintiff,

vs.                                                   CERTIFICATE OF SERVICE FOR
                                                           SERVICE BY MAIL
Tom Roy, et al.,

                               Defendants.


      I hereby certify that on October 19, 2018, I caused the following document:

         REPLY IN SUPPORT OF JOINDER OF DEFENDANTS CENTURION OF
         MINNESOTA, LLC, DARIN HAUGLAND, P.T., AND JEFFREY FELT, M.D. TO
         THE STATE DEFENDANTS’ MOTION TO DISMISS [Dkt. 73]

to be filed with the Clerk of Court through ECF and that on October 19, 2018, I caused a
copy of the foregoing documents to be mailed by first class mail, postage paid, to the
following non-ECF participant:

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                                              Jeffrey Felt, M.D.
